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                                                                    June 05, 2024
              IN THE UNITED STATES DISTRICT COURT              LAURA A. AUSTIN, CLERK
                                                                 BY: s/J.Vasquez
             FOR THE WESTERN DISTRICT OF VIRGINIA

                       HARRISONBURG DIVISION




THOMAS RICHARDS                               Case No. _______________
                                                        5:24-cv-39

                       Plaintiff,

                 v.                        DEMAND FOR JURY TRIAL

X.Corp

                      Defendant




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                                            COMPLAINT1

Plaintiff, Thomas Richards, brings this action under: Title II of the Civil Rights Act

of 1964, the Virginia Human Rights Act, Virginia Code § 18.2-500, The

Constitution of the United States, the Virginia Consumer Protection Act, as well as

implicit defamation and breach of contract.




                                         INTRODUCTION

    1. Plaintiff, Thomas Richards, is a believer in the Bible, and since the year

        2000, he has used the internet to communicate with others about his beliefs.

        He is also a Navy veteran, direct descendant of Joseph Bridger (involved in

        the founding of Jamestown), married to an Ivy league educated lawyer -- the

        daughter of a notable physicist, and a father of 11 children. For 27 years, he

        has performed crucial independent research. His research is all fully

        documented and the information he presents is critically important in



1 This is a modified version of the complaint in the prior matter, Richards v. X Corp. 5:24-cv-00034-MFU-

JCH which Judge Urbanski dismissed May 29, 2024. Judge Urbanski stated he was dismissing it
because it did not have the requisite signature in accordance with Fed.R.Civ.P. 11(a). However,
respectfully, as defined by local WDVA rule 7(c), the complaint did have a signature. Local WDVA rule
7(c) states, “Signatures. The electronic filing of a petition, pleading, motion, or other paper by an attorney
who is a registered participant in this Court’s CM/ECF system shall constitute the signature of that
attorney under Federal Rule of Civil Procedure 11 and for all other purposes.” Counsel is admitted to the
WDVA, is a participant in the Court’s CM/ECF system, and filed the complaint for 5:24-cv-00034 using
that system. Therefore, she did comply with signature requirements of this Court. Due to this Court’s
erroneous dismissal, Counsel requests a refund of the $405 fee paid for this re-filing, as it is duplicative
and should not have been required.

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       helping stop a horrible worldwide conspiracy lead by the Vatican. JFK

       discussed this very thing in 1961, stating "...For we are opposed around the

       world by a monolithic and ruthless conspiracy that relies primarily on covert

       means for expanding its sphere of influence -- on

       infiltration...subversion...intimidation...guerrillas by night, instead of [the

       opposite]"2 A couple of years later, JFK was killed by that conspiracy.

   2. Due to the controversial nature of his information, Mr. Richards, like JFK, is

       at risk of harm from these criminal actors if his work is kept secret

       (shadowbanned). Keeping Mr. Richards’ work hidden allows would-be

       wrongdoers to operate in darkness. But making his work public prevents

       such wrongdoers from being able to hide their actions. It would only bring

       more attention to Mr. Richards’ work, and their crime would not stay

       hidden. This is why making Mr. Richards’ posts public is crucial for his

       safety.



                 BACKGROUND ABOUT MR. RICHARDS’ WORK




2 John F. Kennedy, "Address: The President And The Press" (27 April 1961) - Voices of Democracy

(umd.edu)- https://voicesofdemocracy.umd.edu/john-f-kennedy-address-the-president-and-the-press-27-
april-1961-speech-text/

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    3. Mr. Richards (X account, @tlthe5th), a former Catholic, is doing the most

        important work in the world today as he exposes worldwide corruption and

        conspiracy, particularly the epidemic of child rape in the Catholic institution.

        Exhibits of some of his “shadowbanned” tweets are included. Much like

        John the Baptist in the New Testament of the Bible was shining light on the

        bad acts of the king, Mr. Richards is shining light on far more horrible

        acts being committed all throughout the world by an evil criminal entity

        that has gotten away with it for years and has become emboldened to

        become even worse. No one but Mr. Richards has had the boldness to try

        to stop this Beast. (And Mr. Richards credits God with giving him all the

        boldness and ability he has).

    4. All of the statements Mr. Richards makes are documented and indisputable,

        such as recent statements by the Pope, made public in many articles. Yet no

        one except Mr. Richards ties these events together; the media refuses to

        cover it, and with all the social media censorship, the information remains

        mainly hidden from everyone. For example, the Pope recently stated that

        child rapists are "children of God" “who deserve love”.3 Coupled with their

        epidemic of concealed child rape, this should be all the news is talking




3 Pope Francis calls sex abusers 'children of God' (nypost.com), https://nypost.com/2023/05/11/pope-

francis-calls-sex-abusers-children-of-god/.

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        about. It should be far bigger than the “#MeToo” movement. It should be

        trending on X. Yet no one is talking about it at all. Mr. Richards continues

        to post about this, but the posts continue to be shadowbanned by Big

        Social Media. The social media silence on the topic is why the topic is

        still hidden.

    5. Mr. Richards has reported in great detail that the Vatican engages in

        covering up and hiding the crimes of evil pedophile priests.4 The Catholic

        church has no intention of punishing these criminals. Rather, the Pope faults

        the people who want to expose their crimes and then insists he has immunity

        for all of the horrible things he has helped cover up.5 He even removed the

        diplomatic immunity for Catholic clergy who were investigating it!6 As

        another recent example, in Washington State, the attorney general brought a

        criminal action against these child rapist priests, but then the Seattle

        Archdiocese refused to respond to the subpoena, even asking the state to

        drop the charges.7 The Pope has also specifically requested that social media

4 E.g. Activists chide pope over handling of sex abuse and cover-ups (aol.com);

https://www.aol.com/news/activists-chide-pope-over-handling-142935595.html.
5 Pope seeks immunity in Australian court over notorious paedophile priest (theage.com.au);

https://www.theage.com.au/national/pope-seeks-immunity-in-australian-court-over-notorious-paedophile-
priest-20240404-p5fhib.html.
6 E.g. Bishop Strickland reacts to list naming priests credibly accused of sexual abuse | cbs19.tv,

https://www.cbs19.tv/article/news/bishop-strickland-reacts-to-list-naming-priests-credibly-accused-of-
sexual-abuse/501-b93a4129-d9b7-4363-bb99-b9ddcd481448; Pope Removes Bishop Strickland
Following Vatican Investigation - Today's Catholic (todayscatholic.org); https://todayscatholic.org/pope-
removes-bishop-strickland-following-vatican-investigation/.
7 Church is stonewalling sex abuse investigation, according to Washington state AG | News |

avpress.com, https://www.avpress.com/news/church-is-stonewalling-sex-abuse-investigation-according-
to-washington-state-ag/article_7b1fcf08-0f42-11ef-ad60-53d4e28a6c9f.html.

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        and major websites like Google and YouTube keep quiet about the evil

        actions of the organization, claiming that it is evil to expose the truth about

        the crimes of the Vatican.8



                        WILLFUL COVERUP BY SOCIAL MEDIA



    6. Tragically, the heads of these Big Social Media and Big Internet

        organizations have agreed to the censorship that the Pope has requested,

        which harms the safety of hundreds of millions of children throughout the

        world.9 The child rapists should all be arrested and punished. Instead their

        crimes are hidden, and they keep committing these atrocities. If the epidemic

        of child rape and the Vatican cover-up were accurately reported, parents

        would get their children away from Catholic priests. By keeping the

        epidemic secret, more and worsening destruction of lives is allowed to

        occur.




8 Pope Francis condemns 'media disinformation' - BBC News https://www.bbc.com/news/world-europe-

38244274.
9 See The Global Catholic Population | Pew Research Center,

https://www.pewresearch.org/religion/2013/02/13/the-global-catholic-population/.

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    7. As an example of collusion with the Pope, Eric Schmidt, CEO of Alphabet

        (the holding company of Google and YouTube) promised to help the Pope

        keep their evil acts from being exposed.10

    8. Mr. Richards has been doing research on these issues and others for 27

        years, along with presenting incredible, in-depth Bible studies. Because of

        all of this, he has been horribly censored. Anyone who cares about truth and

        free speech should do all they can to protect Mr. Richards’ free speech,

        freedom of religion, and civil rights, so that the critically important

        information he is trying to expose can be heard before it is too late.

    9. Mr. Richards’ recent research has also uncovered a link between Pope

        Francis and Naziism and the attempt to start WWIII; Pope Francis was

        trained by the trainee of a Nazi: 1) Ivan Buchko was a Ukranian Greek

        Catholic hierarch who organized the escape of the entire Waffen-SS Galitsia

        Division to South and North America at the end of WWII.11 2) Stefan Czmil

        was a bishop of the Ukranian Greek Catholic Church, a clandestine church

        in Ukraine during the Soviet era. He was ordained a priest on October 14,

        1945, by Ivan Buchko.12 3) On December 13, 1969, Jorge Mario Bergoglio



10 Google's Eric Schmidt Meets With Pope Francis at the Vatican (nbcnews.com),

https://www.nbcnews.com/tech/tech-news/google-s-eric-schmidt-meets-pope-francis-vatican-n497616.
11 Ivan Buchko - Wikipedia, https://en.wikipedia.org/wiki/Ivan_Buchko; Atkinson, Rodney; Dorich, William;

Spalton, Edward. And Into The Fire: Fascist Elements in Post War Europe and the Development of the
EU.
12 Stefan Czmil - Wikipedia, https://en.wikipedia.org/wiki/Stefan_Czmil - see Education section.


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          (now Pope Francis) was ordained as a Jesuit priest. His spiritual father and

          tutor was Stefan Czmil, a Ukranian Greek Catholic missionary who

          emigrated to Argentina.13 Put this information together and the

          conclusion is obvious—there is a strong positive connection between

          Pope Francis and Nazis in his early years, leading to his current pro-

          Nazi stance.



       MR. RICHARDS’ RELIGIOUS BELIEFS MANDATE THAT HE USE

                    SOCIAL MEDIA TO REPORT HIS RESEARCH

       10. Because two-thirds of the world’s population is currently on the internet, 14

          (with a similar percentage on social media15) and people often use the

          internet as their sole means of accessing important information, 16 there is

          generally no other way for Mr. Richards to reach people except through the

          internet. Based upon his belief in the Bible and everything he has



   There the young Jorge Mario Bergoglio, later to become Pope Francis, rose early to serve Divine
13 “

Liturgy for him.” Paul Vallely, Pope Francis: Untying the Knots, Bloomsbury, 2013.
14 Internet usage worldwide – statistics & facts | Statista; https://www.statista.com/topics/1145/internet-

usage-worldwide/#topicOverview
15 Internet and social media users in the world 2024 | Statista;

https://www.statista.com/statistics/617136/digital-population-
worldwide/#:~:text=Worldwide%20digital%20population%202024&text=As%20of%20January%202024%
2C%20there,population%2C%20were%20social%20media%20users.
16 What the world does online in 2024 — DataReportal – Global Digital Insights;

https://datareportal.com/reports/digital-2024-deep-dive-what-we-do-online, stating that “Ongoing research
from GWI reveals that “finding information” remains the primary reason for going online around the world,
with more than 6 in 10 working-age internet users citing this as a primary motivation for using the
internet.”

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      experienced; Mr. Richards is compelled by God to share the knowledge and

      information God has given him with all the world. The only feasible way for

      him to preach the gospel to the entire world, as commanded, is through the

      internet. In addition, he needs to use the websites that most people use so

      that he can reach the largest number of people. And it has been this way for

      almost 25 years. Like several similar online forums, X habitually denies him

      the accommodations, advantages, services and privileges which it provides

      to others.

   11. Mr. Richards’ religious beliefs require him to present Bible information and

      information about world events to whomever he can. As the Bible says in 1

      Corinthians 9:16 “… I am compelled to preach. Woe unto me if I do not

      preach the gospel!”

   12. Preaching on the internet is also far more efficient than in person, due to the

      vastly larger number of people that can be reached with each post. Also the

      Bible commands to “Go into all the world and preach the gospel to all

      creation.” (Mark 16:15) In addition, attending protests in person runs a

      significant risk of being injured or killed. Mr. Richards is reasonably

      extremely concerned for his safety if he were to preach and protest at in-

      person events. He considers this not just for himself, but because of his large

      family who depends upon him for leadership, support, and guidance. In

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         addition, he considers his important role as a preacher of the gospel, a role

         that he needs to be alive in order to engage in.

     13. Taken together, for multiple reasons, Mr. Richards’ religious beliefs compel

         him to use Big Social Media to speak about his understanding of the Bible

         and world events.

            SOCIAL MEDIA AND ONLINE PLATFORMS HAVE CENSORED

                                   MR. RICHARDS FOR DECADES

     14. Mr. Richards began using X around 2009, and his account is @tlthe5th. He

         also became a paid subscriber of X Premium as soon as it became available

         in November 2022. Sometime later, he upgraded to the higher-tier

         Premium+. He did this in reliance on the promise that his posts would be

         promoted by X to more viewers if he paid for Premium, and even more if he

         paid for Premium+.17 He has a collection of documentation of X’s

         discrimination against him over the years (along with that done by other

         major websites). A sampling of documentation of how they have censored

         him is available on his website.18 He knows that X has done -- and continues

         to do -- something internally to keep his posts from being viewed even by

         people who have signed up to receive alerts from his page. He used to have


 17 About X Premium, https://help.x.com/en/using-x/x-premium
 18 https://spirituallysmart.com/censorship.html


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         hundreds to thousands of views on his X posts, but gradually that trickled

         down to often less than a few views per post.

     15. It is clear this decrease is not organic but is due to intentional and targeted

         acts by X (external tech websites that perform analysis to detect

         shadowbanning have stated that his posts have been shadowbanned). Even

         X’s AI, Grok, states that Mr. Richards’ account has been shadowbanned.19

     16. Common sense and statistics prove the same thing -- because Mr. Richards

         was organically having an exponential increase in viewers which suddenly

         fell off a cliff -- with nothing that has changed on his end, it is clear that X

         has done something in its internal systems to prevent his page from being

         viewed by his subscribers.

     17. To be clear, he sells no products and never has. He makes no money off his

         X page. He has tried to use his X page purely to speak to others about what

         he knows about the Bible and other crucial information about evil acts being

         perpetuated-- primarily by the Vatican-- through the lens of his biblical

         beliefs, and to hopefully make contact with others who are interested in or

         share his beliefs. The Twitter post and graph at the top of the

         SpirituallySmart.com censorship page shows this decrease in detail, and




 19 See exhibits entitled, Grok AI 1, Grok AI 2, and Grok AI 3.


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        several screenshots of the webpage which are exhibits to this complaint also

        illustrate it.20

    18. Some of what X has done to Mr. Richards has been in secret (where he can

        observe the effects, and it is clear that there is no organic way that views of

        the posts on his page would naturally sharply decrease on their own, when it

        was on a rapid upward trend in views). But some of what X has done has

        been open and outward – on occasion, X has also put his posts behind blocks

        and warnings claiming them to be disturbing to viewers when they are not;

        they are highly informative, engaging, and educational—the exact sort of

        content that is supposed to receive protection, not blocking. X also banned

        him in appearing in any searches on X for quite some time. Upon

        information and belief, this occurred for many months or perhaps years.

    19. Upon information and belief, there is a connection between censorship Mr.

        Richards has experienced on X and censorship he has experienced on

        YouTube. His views on both websites decreased in tandem. The video, Nazi

        Germany – A Creation of Vatican and the Jesuits,21 is his most popular

        video, but YouTube censors it for false reasons, even while allowing


 20 Tommy Richards on X: "It stinks! But please see how Google/Youtube and the entire internet

 shadowbanned me for my work connecting the Roman Catholic cult to the Nazis: This is a graph of visits
 to my website over the years. My information has been meticulously scrubbed and censored from the
 internet.… https://t.co/zGiW9pSZjF" / X (twitter.com),
 https://twitter.com/tlthe5th/status/1717225145008349275
 21 Nazi Germany - A Creation of the Vatican and Jesuits (CENSORED by YOUTUBE/GOOGLE) -

 YouTube, https://www.youtube.com/watch?v=e9zBX4gt0eo&t=17s

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         duplicated versions of his original video to be stolen and shown by others on

         their pages without a similar warning.22 The timing of this YouTube

         censorship, as alluded to above, coincides with X censorship which is

         notable-- this sudden drastic decrease in views happened immediately after

         Mr. Richards’ most popular video received major attention (being cited in a

         mainstream news article which stated that the Vatican was opposed to it.)23

     20. The article was about the Vatican’s creation of a YouTube channel and

         states, “Type “Vatican” into YouTube’s search engine and… the second [hit

         on YouTube] argues that ‘Nazi Germany was a creation of the Vatican and

         the Jesuits’. Now the Vatican has the means to fight back.”24 Because his

         video dramatically decreased in views shortly after this article appeared in

         2009, it is clear that YouTube censored the video.

     21. Publicity like this from The Independent would naturally only cause an

         increase to the traffic to Mr. Richards’ video, especially when it was already

         on an upward trend in popularity. Yet ultimately the opposite happened, the

         upward trend, suddenly reversed and changed to an almost complete




 22 E.g. Nazi Germany - A Creation of the Vatican and Jesuits (youtube.com),

 https://www.youtube.com/watch?v=7Un4SP8Z4rc
 23 Vatican launches YouTube channel | The Independent | The Independent,

 https://www.independent.co.uk/news/world/europe/vatican-launches-youtube-channel-1514238.html
 24 While YouTube is not a defendant in this action, its behavior is being illustrated to explain the global

 censorship Mr. Richards has experienced due to his religious beliefs.

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       cessation of visits to his website and YouTube page. This is impossible to be

       organic.

    22. Because of the statement in the article and ensuing events, coupled with

       articles such as the one about Eric Schmidt, CEO of Alphabet, it is clear that

       YouTube engaged in illegal religious discrimination against him because

       YouTube favored the Vatican’s viewpoint over his and censored his video in

       response to the article. (This can be seen in the attached screenshots

       Censorship 3, and Censorship 5). Upon information and belief, there are

       individuals with prominent roles who are involved in conspiracies (such as

       was spoken about by JFK) that exert control over YouTube as well as X.

    23. Also, if one carefully views the other attached screenshots (Censorship 1-

       Censorship 9), one can see that the Vatican admitted it wanted to ban any

       speech that spoke out against it. The screenshots show that the Pope was

       requesting big tech entities to prevent free speech that said anything negative

       about the Vatican, such as the epidemic of child sex abuse by priests and of

       the Vatican covering up that abuse. These screenshots then also show the

       collaboration between the Vatican and the big tech entities. Eric Schmidt,

       head of Alphabet (which owns Google) plainly states “I want to work with

       you to make these points…we will make it happen” (see the attached

       screenshot Censorship 7) indicating that he will work with the Vatican to

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         censor online content that the Vatican does not approve of (such as exposing

         the sex abuse).

     24. Another image within the included exhibits shows Eric Schmidt meeting

         with the Pope, with them smiling broadly at each other while shaking hands.

         And then the link between X’s censorship and Google/YouTube’s censorship

         can be seen, among other places, in the detailed information obtained

         through FOIA requests in another recent complaint involving Big Social

         Media censorship.25 There are articles and photos about Mr. Musk meeting

         the Pope.26 After this meeting, Mr. Richards’ noticed his censorship on X

         became worse.

     25. Not only has X prohibited Mr. Richards from sharing information, it has

         gone a step further and implicitly slandered him by causing it to appear that

         his page (and viewpoint) is unpopular and therefore presenting a false

         impression that his work must not be important. This impression that his

         page is unpopular is due to the lack of engagement by those who follow his

         page – when in actuality, X has internally prevented Mr. Richards’ followers




 25 RFK Jr. Wins Deferred Injunction in Vax Social Media Suit (1) (bloomberglaw.com),

 https://news.bloomberglaw.com/litigation/rfk-jr-wins-deferred-injunction-in-anti-vax-social-media-suit;
 Bloomberg Law,
 https://www.bloomberglaw.com/public/desktop/document/KennedyetalvBidenetalDocketNo323cv00381W
 DLaMar242023CourtDocket/1?doc_id=X5U91VUV3IH8CM9PCJFATSG3B6L
 26 Elon Musk shares rare photo of himself with 4 older sons (today.com),

 https://www.today.com/parents/dads/elon-musk-sons-photo-rcna36465

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        from even seeing his page. So what appears to be low engagement is not that

        at all, but only X’s internal censorship (shadowbanning) of his page.

    26. The U.S. House of Representatives has discussed that intentional censorship

        has been occurring, on X and other social media cites based upon the

        viewpoint of the person making the post.27 In addition, a major nonprofit

        organization has filed a class action lawsuit due to social media viewpoint-

        based censorship.28 Here, because Mr. Richards’ page is dedicated to

        speaking about his religious beliefs and because his religious beliefs also

        require him to speak out, this censorship is religious discrimination—it

        prohibits him from having equal access to X which is a public

        accommodation. And the secretive way Mr. Richards is being censored is far

        worse than an ordinary free speech violation because it makes it look

        (falsely) like people are not interested in his information. This therefore

        becomes intentional libel as well.

    27. All of X’s allegations against Mr. Richards when it blocks his posts have

        been false. He has done nothing to violate their terms, so their blocks have


 27 The Cover Up: Big Tech, the Swamp, and Mainstream Media Coordinated to Censor Americans’ Free

 Speech - United States House Committee on Oversight and Accountability; The Cover Up: Big Tech, the
 Swamp, and Mainstream Media Coordinated to Censor Americans’ Free Speech - United States House
 Committee on Oversight and Accountability, https://oversight.house.gov/release/the-cover-up-big-tech-
 the-swamp-and-mainstream-media-coordinated-to-censor-americans-free-speech-%EF%BF%BC/
 28 RFK Jr. Wins Deferred Injunction in Vax Social Media Suit (1) (bloomberglaw.com),

 https://news.bloomberglaw.com/litigation/rfk-jr-wins-deferred-injunction-in-anti-vax-social-media-suit;
 Bloomberg Law,
 https://www.bloomberglaw.com/public/desktop/document/KennedyetalvBidenetalDocketNo323cv00381W
 DLaMar242023CourtDocket/1?doc_id=X5U91VUV3IH8CM9PCJFATSG3B6L

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       been invalid, nor have they given him any notice that he violated their terms.

       They clearly prefer to censor him in secret because they are terrified of the

       truth his posts present-- because if people were to actually see Mr. Richards’

       posts, the sharp, incisive content would cause people all over the world to

       wake up and see the evil all around us and then to all decide to fight against

       that evil. And the people doing these evil acts -- the Vatican and others

       involved in the conspiracy -- do not want that to happen; they want to keep

       operating in the shadows.

    28. Upon information and belief, X is involved in this conspiracy, and continues

       to remove/censor Mr. Richards’ posts and prevent him from having normal

       access to a public accommodation due to his religious beliefs and his

       powerful reporting. He has never advocated any type of violence against

       anyone, nor posted any inappropriate content, nor any other thing that X

       says it does not allow. X has therefore violated its own terms of use with

       respect to his posts and done so due to Mr. Richards’ religion. As a note, any

       impingement on free speech/freedom of the press is a violation of the Bill of

       Rights, but in Mr. Richards’ case, the content is more than just viewpoint

       based, non-religious speech, it is religiously based. It is therefore quite clear

       that X’s crippling Mr. Richards’ posts and his page is discrimination due to




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         his religion, which impedes Mr. Richards’ God-given and Constitutionally

         protected freedom of thought and freedom of speech.




            THE USA IS RUINED – TRUE FREEDOM OF THOUGHT

                                      IS OUR ONLY HOPE



     29. Due to the abundant evil occurring in the U.S. government, even X's AI,

         Grok, agreed that Mr. Richards raised a valid point that there is no due

         process anymore in this country.29 He stated this in light of the events

         following the JFK assassination (which Mr. Richards also stated represented

         a coup d’état): "The JFK assassination proved to the world a person could

         be convicted of a crime without ever appearing in court. Thereby, nullifying

         everything about the US Constitution and freedoms we're supposedly

         guaranteed in this country. Lee Harvey Oswald was a VICTIM. Just like us

         all.”30

     30. After the assassination of JFK, perpetuated by infiltrators in his

         administration, the United States is simply gone-- the whole country is now

         a lie. One just needs to think about it-- there was a coup and someone inside



 29 See attached exhibit, “No due process”.
 30 https://twitter.com/tlthe5th/status/1790013327986356555


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        the government took over; someone else was found guilty without a trial.

        Even undersigned counsel’s 8th grade teacher taught the whole class that the

        JFK assassination official story had to be false – she simply required the

        students to look at the evidence, such as where the bullets entered and exited

        his body. It was clear that no bullet could have come from the Texas

        Schoolbook Depository, the way the bullet holes were, and that the Warren

        Commission had intentionally lied.

    31. So who and what took over when JFK died? The entire government is now

        actively involved or complicit. For decades it has been impossible to be

        elected president without significant corporate funding. So anyone not part

        of the whole evil conspiracy has not had a chance. Trump, Hillary Clinton,

        etc. are all part of it. Trump and Hillary were even friends, with their

        daughters said to be close friends.31

    32. Hillary Clinton was an important part of the government when the Federal

        Government committed atrocities at Waco in 1993. Upon information and

        belief, Hillary bought the rights to the Waco documentary, "Waco: The

        Rules of Engagement.” That movie proves that the U.S. government

        murdered all the Branch Davidians at Waco, and that they even killed a



 31 See, e.g. When Hillary and Donald Were Friends - The New York Times (nytimes.com),

 https://www.nytimes.com/2016/11/06/magazine/when-hillary-and-donald-were-friends.html. Donald Trump
 Articles of Note (spirituallysmart.com), https://spirituallysmart.com/trump.html.

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        couple of their fellow government agents (to try to make it look like the

        Branch Davidians had killed them). Upon information and belief, Hillary

        then had the movie deleted from YouTube, with every mention of Waco

        removed from every one of Mr. Richards' videos.

    33. Note that one of Mr. Richards’ videos has had the sound removed by

        YouTube in the section where the government agent was explaining that the

        siege at Waco was directly ordered by President Clinton. In that silenced

        section, it stated that President Clinton was the one that had ordered the

        Branch Davidians’ residence to be burned up (with all of the children and

        people inside).32



                   FREEDOM OF THOUGHT IS THE ONLY WAY TO FIGHT

                                                THIS EVIL




    34. Queen Elizabeth I revoked a thought censorship law in the late sixteenth

        century,33 because, according to Sir Francis Bacon, she did "not [like] to

        make windows into men's souls and secret thoughts".34



 32 https://www.youtube.com/watch?v=qI4R1g3YT-s&lc=UgzLPxAfPnHw2lEuR8p4AaABAg, see

 timestamp - 24:33-22:50
 33 https://en.m.wikipedia.org/wiki/Queen_Elizabeth_I
 34 https://en.m.wikipedia.org/wiki/Freedom_of_thought#cite_note-9


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         Freedom of thought is the precursor and progenitor of—and thus is closely

         linked to—other liberties, including freedom of religion, freedom of speech,

         and freedom of expression.35 The ability to think freely and critically is also

         what makes us human.

     35. "Every person attempts to have a cognitive proficiency by developing

         knowledge, concepts, theories and assessing them in the given environment.

         This cognitive proficiency gives a sense of contentment and replaces the

         feeling of helplessness. Apart from bringing ease to the ego of a person, new

         knowledge and ideas also bring a hope for the future.”36

     36. And as Mr. Richards stated: "They're trying to enslave our minds by

         attacking freedom of thought."

     37. But the oppressive leadership of this world headed by the Pope (who calls

         himself the “Patriarch of the West”)37 wants to control the thoughts of the

         entire world so they can control all of humanity. The current status of the

         internet, where everything is completely controlled by the government --

         through government-controlled Big Social Media -- is unconscionable.




 35 https://en.m.wikipedia.org/wiki/Freedom_of_thought#cite_note-2
 36 Freedom of thought - Wikipedia, https://en.wikipedia.org/wiki/Freedom_of_thought#cite_note-1.
 37 Pope Francis reinstates papal title ‘Patriarch of the West’ in Pontifical Yearbook | Catholic News

 Agency, https://www.catholicnewsagency.com/news/257360/pope-francis-reinstates-papal-title-patriarch-
 of-the-west-in-pontifical-yearbook

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    38. Most other media websites used to have comment sections at the end of

        articles for public commentary and discussion. But now those comment

        sections have been removed. Instead those articles just direct everyone to the

        Big Social Media entities, ostensibly, to discuss the issue – but then this puts

        everyone under control of these huge Big Social Media companies, where

        it’s been publicly stated that they have been involved in government directed

        censorship.38 By bringing everyone into tightly controlled Big Social

        Media, the conspiracy can completely block speech such as Mr.

        Richards’ that exposes the world’s evil.



                UPON INFORMATION AND BELIEF, MR. RICHARDS’

                WORK HAS BEEN CENSORED BY DIRECTION FROM

                GOVERNMENT



    39. As demonstrated by the attached screenshots, and as explained above, as

        well as documented in the link provided in footnote 18, X could only be

        acting as it does, by operating in cahoots with the Vatican and the U.S.

        government along with its unconstitutional 47 U.S.C. § 230(c)(2). There is


 38 Note 25, also The Cover Up: Big Tech, the Swamp, and Mainstream Media Coordinated to Censor

 Americans’ Free Speech - United States House Committee on Oversight and Accountability,
 https://oversight.house.gov/release/the-cover-up-big-tech-the-swamp-and-mainstream-media-
 coordinated-to-censor-americans-free-speech-%EF%BF%BC/

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         no other explanation for Big Social Media, Google, and YouTube, all having

         censored Mr. Richards' independent work shortly after a mainstream news

         article was published about his website. In addition, the more he posts about

         the censorship, the more X shadowbans him. Whereas his posts used to be

         available in searches on X, they no longer are.39

     40. In greater detail, while X is the subject of the current complaint, the other

         entities have done the same to Mr. Richards. They all shut down his organic

         reach in 2009 when the publication The Independent mentioned him. Mr.

         Richards’ website’s views were growing exponentially, which made him too

         big a threat, so he was silenced. This can be proven by screenshots of the

         article which discusses the Vatican’s disdain for Mr. Richards’ YouTube

         page, and the subsequent decrease in traffic to his website. Again, while

         these entities are not defendants in the current matter, they are mentioned to

         show the background of how Mr. Richards has been censored.

     41. Note that the censorship has been occurring to Mr. Richards on X since Mr.

         Richards joined, around 2009, also under the former Twitter leadership (Jack

         Dorsey, etc), though the censorship has continued to increase. And as stated

         above, evidence demonstrates that the government is in collusion with X (as


 39 As of time of writing, May, 27, 2024, after sending the prior version of this complaint and the request for

 TRO to Adam Mehes, Senior Director of Legal at X, the search removals seem to have been repaired.
 Within a few hours of emailing him those documents, the search ban -- though not the other more
 significant aspects of the shadowban – appears to have been resolved.

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         well as other Big Social Media and Big Internet) such that this becomes

         government action, not just private action.40

     42. No one can find Mr. Richards’ X page, or any of his posts in a search. And

         he has never been told why he was shadowbanned.41 This violates Mr.

         Musk’s statement on December 8, 2022 in which he guaranteed that users

         would be able to see why they are shadowbanned. Mr. Richards continued to

         use X only because of that promise, reasonably relying on it.42

     43. Moreover, X has deleted/hidden 2100+ of Mr. Richards posts from his own

         archive in violation of their own terms of service. This can be proven

         because his account displays the total number of posts, but then when Mr.

         Richards downloaded the archive, there were 2100 fewer than stated (see

         attachments).43 But the Twitter terms promise that although “posts more than

         a week old may fail to display in timelines... Old posts are never lost, but

         cannot always be displayed.”44

     44. However, X’s statement is false with respect to Mr. Richards because the

         archive is where all old posts are supposed to be stored and saved by X, yet


 40 Refer to note 25.
 41 As explained in note 39, that search removal is not appearing as of May 27, 2024.
 42https://twitter.com/elonmusk/status/1601042125130371072?ref_src=twsrc%5Etfw%7Ctwcamp%5Etwee

 tembed%7Ctwterm%5E1601042125130371072%7Ctwgr%5E16517898b649ab8a043cc0f057beb5a5fbb6
 a296%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.pcmag.com%2Fnews%2Ftwitter-to-start-telling-
 users-when-their-account-has-been-shadowbanned.
 43 See attached – 2100 missing tweets, parts 1,2,3.
 44 https://help.twitter.com/en/using-x/missing-

 posts#:~:text=posts%20more%20than%20a%20week,but%20cannot%20always%20be%20displayed.

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        they are not there. His material has thus been stolen by X. And the

        withheld posts are not random, but involve certain topics—Mr. Richards has

        found that certain search terms have do not appear in his archive, even

        though he has talked about these things quite a bit (terms such as “coward”,

        ”satanist”, “satanism”, and “satanists”)45—X has obviously deleted these

        posts. X even blocked the 19 replies to his pinned tweet for some time, and

        recently unblocked it two days after the undersigned counsel wrote an email

        to X’s Senior Director of Legal about this censorship.

    45. In addition, Mr. Richards can see on his website analytics that Facebook

        keeps visiting the links on his site and then shadowbans them after looking

        at them. There is similar censoring behavior from the various social media

        and internet companies. All of these entities are treasonous criminals for

        blocking the truth Mr. Richards is trying to expose as well as impeding

        Mr. Richards’ hard work.

                                          PARTIES

    46. Thomas Richards is a resident of Virginia.

    47. X Corp. is a Nevada Corporation with its principal office address at 1355

        Market St. Ste. 900 San Francisco, CA 94103.




 45 https://twitter.com/tlthe5th/status/1791217344875761926?t=7HVTrUdPWbucrH_PF5uS1g&s=19


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                                 JURISDICTION AND VENUE

     48. The United States District Court for the Western District of Virginia has

         subject matter jurisdiction over this action pursuant to Title 28 U.S.C. §

         1332 (Diversity) as well as 28 U.S.C. § 1331 (Federal Question). The parties

         are citizens of different States. The amount in controversy exceeds the sum

         of $75,000, exclusive of interest and costs. Constitutional questions and Title

         II of the Civil Rights Act of 1964 are also two of the bases for this action.

     49. X Corp. performs significant business in Virginia and is subject to general

         personal jurisdiction in Virginia. See, e.g., Witt v. Reynolds Metals Co., 240

         Va. 452, 397 S.E.2d 873 (1990). X Corp. is also subject to specific personal

         jurisdiction in Virginia pursuant to Virginia’s long-arm statute, § 8.01-

         328.1(A)(1), (A)(3) and (A)(4), as well as the Due Process Clause of the

         United States Constitution. X Corp. engages in a persistent, continuous, and

         ongoing course of conduct in Virginia, with approximately 770,000 X users

         in the Western District of Virginia.46 X Corp. has minimum contacts with

         Virginia such that the exercise of personal jurisdiction over it comports with




 46 Western District of Virginia | About The District (justice.gov), https://www.justice.gov/usao-wdva/about-

 district (indicating there are 2.2 million people in the WDVA); X/Twitter: Global audience 2024 | Statista,
 https://www.statista.com/statistics/242606/number-of-active-twitter-users-in-selected-countries/
 (demonstrating that 106 million Americans were using X in 2023- extrapolating from that number,
 approximately 1/3 of the US population uses X. Therefore, assuming an average usership in Virginia,
 approximately 1/3 of the population in the WDVA uses X, which is approximately 770 milllion people).

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         traditional notions of fair play and substantial justice and is consistent with

         the Due Process Clause of the United States Constitution.

     50. Mr. Richards’ claims directly arise from and relate to X Corp’s blocking his

         posts, blocking the reach of his posts,47 and blocking his posts and X user

         name from showing up in a search on X, among other things (collectively

         called “shadowbanning”) defaming his reputation in Virginia (by making it

         appear -- as a result of the artificially low number of people viewing his

         posts, leading to lower engagement-- no one is interested in his work, and it

         therefore must be unimportant). Virginia is therefore where Mr. Richards

         was denied his Civil Rights, Constitutional Rights, and among other things,

         suffered injury to his reputation. Calder v. Jones, 465 U.S. 783 (1984);

         Keeton v. Hustler Magazine, Inc., 465 U.S. 770 (1984). (declaratory and

         injunctive relief).

                           STATEMENT OF MATERIAL FACTS

     51. Paragraphs 1-50 are incorporated by reference.

     52. Mr. Richards is a Bible scholar and an expert independent researcher on

         world events. People have said he is like an encyclopedia. Others have



 47 As of the date of writing, May 27, 2024, it appears this type of shadowbanning – blocking posts from

 being viewed-- remains, while the others (different types of search blocking) have been eliminated. This
 repair occurred a few hours after this document and the associated TRO were emailed to Adam Mehes,
 Senior Director of Legal at X. However, it is unclear if X will reinstate the search blocks as well.

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        remarked on the genius of his research. (He gives credit to God for all of his

        abilities.)

    53. Mr. Richards is an extremely prolific writer on X. He has approximately

        53,100 posts, with greatly increasing frequency in the last two years.

    54. X has “shadowbanned” Mr. Richards’ posts so that no one sees them.

    55. Mr. Musk, the owner of X, promised on December 8, 2022 that X users

        would be told whey they had been shadowbanned and given the opportunity

        to contest the shadowbanning (thereby promising a sort of “due process” on

        the app).48

    56. Mr. Richards has never been told he was shadowbanned, and for a long

        time, did not even realize he was shadowbanned. His posts are visible to

        him, so he did not realize that others were not seeing his posts or replies.

    57. 2100+ of Mr. Richards’ posts have been removed from Mr. Richards’

        archive on X. X’s terms promise that “posts more than a week old may fail

        to display in timelines... Old posts are never lost, but cannot always be

        displayed.”49 Therefore, X has stolen his copyrighted posts.




 48https://twitter.com/elon/status/1601042125130371072?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetemb

 ed%7Ctwterm%5E1601042125130371072%7Ctwgr%5E16517898b649ab8a043cc0f057beb5a5fbb6a296
 %7Ctwcon%5Es1_&ref_url=https%3A%2F%2F; Twitter to Tell Users When Their Accounts Have Been
 'Shadow Banned' | PCMag; https://www.pcmag.com/news/twitter-to-start-telling-users-when-their-
 account-has-been-shadowbanned.
 49 https://help.twitter.com/en/using-x/missing-

 posts#:~:text=posts%20more%20than%20a%20week,but%20cannot%20always%20be%20displayed.

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     58. X’s own AI tool, Grok, admits that Mr. Richards’ posts have been

         shadowbanned on X.50

     59. Mr. Richards has had his reputation and business harmed by the

         shadowbanning by X. Were he not banned, due to the extreme interest

         people have in his materials when they see them, and the exponential growth

         on his website and YouTube channel before he started getting censored, he

         would be a public figure by now.

     60. Without the shadowbanning, he would have a much greater level of respect

         by people who know him, and he would be able to build a media

         station/website and/or successfully obtain a public office, due to the

         deserved popularity he would have. Therefore, both his personal and

         monetary harm is quite significant due to the shadowbanning.

     61. Upon information and belief, X chooses “winners” -- who it decides to

         promote, intentionally making these individuals to become extremely

         popular on X by suggesting their posts to others and causing them to

         “trend”. Upon information and belief, the decisions about who should

         “trend” and be these winners is a decision made in collaboration with the




 50 See attached – grok due process 1,2,3.


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        U.S. Government, and moreover, the U.S. government has compelled X to

        make these decisions.51

    62. X is carrying on a government objective and function, see Lebron v.

        National Railroad Passenger Corp. 513 U.S. 374 (1995)

    63. X does not shadowban people who adhere to no religion or different

        religious beliefs than Mr. Richards. His belief and knowledge of the Bible

        differs from anyone else on X, and he is the only one shadowbanned to this

        degree.

    64. As examples of his unique Bible beliefs, he is the only person who as a

        matter of his religious beliefs: opposes Catholicism and the Vatican; opposes

        all police; favors gun ownership freedom; favors letting most people out of

        jail who are currently incarcerated; supports the principles of “black lives

        matter”; opposes homosexuality and transgenderism; takes the Bible as

        literally and absolutely true in its original languages; is a Bible scholar and

        prolific writer on biblical topics; has had supernatural experiences with God

        that lead to a deliverance from anxiety and horrible problems in an instant –

        27 years ago; opposes all U.S. politicians – Trump, Biden, RFK Jr.; supports

        Russia, China, Palestine, South Korea; supports Communism and Stalin as


 51 See The Cover Up: Big Tech, the Swamp, and Mainstream Media Coordinated to Censor Americans’

 Free Speech - United States House Committee on Oversight and Accountability,
 https://oversight.house.gov/release/the-cover-up-big-tech-the-swamp-and-mainstream-media-
 coordinated-to-censor-americans-free-speech-%EF%BF%BC/.

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         opposed to capitalism - which is allied with Naziism and the Vatican;

         opposes the U.S. military; opposes all U.S. political parties; considers it his

         obligation to devote all of his energy to exposing the evil deeds of the

         Vatican and other related evil entities; and many other things that

         differentiate him from any other person professing to be a Christian today.

         He is unique and has a right to share his viewpoint freely and be free

         from religious discrimination.

     65. Mr. Richards noticed the shadowbanning on X began increasing when he

         began speaking out against Donald Trump.

     66. X’s terms of service do not permit X to delete any of a user’s posts from its

         archive (“What’s yours is yours”).52

     67. X’s terms state that the account holder holds a copyright to their posts.53

         Therefore, X is not permitted to twist the meaning of their posts.

     68. X’s terms promise that Premium and Premium+ subscribers (paid users with

         the blue check mark) are given preference such that their replies to other

         people’s posts are promoted.54

                                 CLAIMS FOR RELIEF




 52 https://x.com/en/tos.
 53 https://x.com/en/tos.
 54 About X Premium, https://help.x.com/en/using-x/x-premium, “Premium: Includes all Basic features

 plus…larger reply prioritization…

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                    COUNT I - Title II of the Civil Rights Act of 1964

    69. Paragraphs 1-68 are incorporated by reference.

    70.Title II of the Civil Rights Act of 1964 prohibits discrimination in places of

       public accommodation. In Mejico v Alba Web Design, 515 F. Supp. 3d 424

       (W.D. Va. 2021), the WDVA held that a website with no brick and mortar

       location is a “public accommodation”. Therefore, under Title II of the Civil

       Rights Act of 1964, a website such as X is also a “public accommodation”

       and as such cannot discriminate on the basis of religion. Here, Mr. Richards

       has clearly been discriminated against based upon his religious beliefs, as

       explained above, and discovery of X’s records will demonstrate this.

    71. Also, Count VII, Breach of Contract, below, especially paragraphs 140-143,

       explains in greater detail that Mr. Richards has been censored in violation of

       X’s own terms of service, while the Vatican has been not censored, despite

       the Vatican actually violating X’s terms. This too is prima facie proof of

       discrimination against Mr. Richards based upon his religious beliefs.

    72. The Civil Rights Act of 1964 authorizes injunctive relief and attorney’s fees.

    73. Plaintiff therefore demands that his account be given no discriminatory

       negative treatment by X. He needs to be given the same level of promotion

       by X as those accounts which receive the highest level of promotion (such as

       Jackson Hinkle, Alex Jones, and others). He pays for the Premium+ service,

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         and therefore is entitled to exact the same promotion benefits that other

         promoted accounts receive.

     74. Mr. Richards’ attorney’s fees are estimated to be no less than $250,000.55

     75. That fee will increase as more time is spent on the case.

                                  COUNT II – Virginia Human Rights Act

     76. Paragraphs 1-75 are incorporated by reference.

     77. The VA Human Rights Act (“VAHR”) prohibits discrimination on the basis

         of religion for any public accommodation. The censorship of Mr. Richards’

         account violates Va. Code § 2.2-3904 which states:

             a. "Place of public accommodation" means all places or businesses

                 offering or holding out to the general public goods, services,

                 privileges, facilities, advantages, or accommodations. B. It is an

                 unlawful discriminatory practice for any person, including the owner,

                 lessee, proprietor, manager, superintendent, agent, or employee of any

                 place of public accommodation, to refuse, withhold from, or deny any

                 individual, or to attempt to refuse, withhold from, or deny any

                 individual, directly or indirectly, any of the accommodations,

                 advantages, facilities, services, or privileges made available in any


 55 This is based upon an hourly billing rate as well as speaking to other counsel who do this sort of work.

 Another attorney whose name will be provided upon request, stated he would require a $250,000 bond to
 even begin work on the matter.

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             place of public accommodation, or to segregate or discriminate

             against any such person in the use thereof… on the basis of …

             religion...”

    78. In Mejico v. Alba Web Designs, LLC., the WDVA, held that a website with

       no physical presence is a “place of public accommodation.”

    79. So too, here, X -- which has discriminated against Mr. Richards on the basis

       of his religious beliefs -- has violated established Virginia law by prohibiting

       him from enjoying the “accommodations, advantages…services, and

       privileges made available” to the public on the basis of his religion.

    80. The VAHR (§ 2.2-3908) authorizes compensatory damages, punitive

       damages, and attorney’s fees.

    81. Damages for this violation are estimated to be approximately $250,000 for

       attorney’s fees (depending upon how much time Counsel ends up spending

       on the case) plus $50,000,000 for the damage Mr. Richards’ has experienced

       to his reputation and potential business as a result of his account being

       shadowbanned. In addition, he makes a claim for punitive damages of

       $20,000,000. He also requests injunctive relief such that X is no longer

       allowed to discriminate against Mr. Richards’ account in any way.

                            COUNT III - VA Code section § 18.2-500

  82. Paragraphs 1-81 are incorporated by reference.

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  83. VA Code § 18.2-499 is a criminal code provision which prohibits

     “Combinations to injure others in their reputation, trade, business or

     profession; rights of employees.” And states:

          a. “any two or more persons who combine, associate, agree, mutually

             undertake or concert together for the purpose of (i) willfully and

             maliciously injuring another in his reputation, trade, business or

             profession by any means whatever… shall be jointly and severally

             guilty of a Class 1 misdemeanor. Such punishment shall be in addition

             to any civil relief recoverable under § 18.2-500.”

       Undersigned Counsel has contacted the VA Attorney General’s Office about

       the violation of the criminal code.

    84. VA Code § 18.2-500 is a derivative of the criminal code. It states:

          a. “A. Any person who shall be injured in his reputation, trade, business

             or profession by reason of a violation of § 18.2-499, may sue therefor

             and recover three-fold the damages by him sustained, and the costs of

             suit, including a reasonable fee to plaintiff's counsel, and without

             limiting the generality of the term, "damages" shall include loss of

             profits.”

    85. Here, clearly more than one person at X was involved in whatever was done

       to shadowban Mr. Richards’ account and remove the 2100+ posts from his

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       archive. These two or more individuals intentionally undertook to do this

       shadowbanning which, in turn, injured Mr. Richards in his Bible ministry

       work as well as greatly damaging his reputation among the community in

       Virginia. By shadowbanning his account, X made it appear that people are not

       interested in what Mr. Richards has to say. This makes it look like what he is

       saying is not important. Thus, the shadowbanning has greatly damaged Mr.

       Richards’ reputation.

    86. Here, at least two people at X, and upon information and belief, others

       outside of X, such as in government and at other social media, have

       conspired together to shadowban Mr. Richards’ X page.

    87. As explained above, Mr. Richards’ reputation and business has been harmed

       by this shadowbanning.

    88. As this statute authorizes treble damages and attorney’s fees, Plaintiff

       requests $250,000 in attorney’s fees and $150,000,000 in compensatory

       damages.




       COUNT IV – US Constitution – Amendment 1 & 42 U.S.C. § 1983

    89. Paragraphs 1-88 are incorporated by reference.

    90. The First Amendment of the Constitution, which is a part of the Bill of

       Rights, forbids Congress to make any law to restrict freedom of speech,
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        religion or the press. Under 42 USC § 1983, a private actor such as X can be

        held liable for a constitutional violation when it willfully joins with a state

        official to violate the constitutional rights of another.

    91. Further, a private party may be deemed a state actor for purposes of 42

        U.S.C. § 1983 liability under any one of four different circumstances: (1)

        when the state has coerced the private actor to commit an act that would be

        unconstitutional if done by the state; (2) when the state has sought to evade a

        clear constitutional duty through delegation to a private actor; (3) when the

        state has delegated a traditionally and exclusively public function to a

        private actor; or (4) when the state has committed an unconstitutional act in

        the course of enforcing a right of a private citizen Mentavlos v. Anderson,

        249 F.3d 301; Rice v. Scholastic Book Fairs, Inc., 579 F. Supp. 3d 786;

        Andrews v. Federal Home Loan Bank, 998 F.2d 214.

    92. Here, X has fulfilled both circumstance 1 and 3 (with the fulfilling of any

        one being sufficient to find state action). With respect to circumstance 1, the

        state has coerced X, a private actor, to commit an act that would be

        unconstitutional if done by the state. The government has openly encouraged

        and attempted to persuade X to censor various sorts of protected speech.56


 56 The Cover Up: Big Tech, the Swamp, and Mainstream Media Coordinated to Censor Americans’ Free

 Speech - United States House Committee on Oversight and Accountability,
 https://oversight.house.gov/release/the-cover-up-big-tech-the-swamp-and-mainstream-media-
 coordinated-to-censor-americans-free-speech-%EF%BF%BC/.

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         Therefore, it is an admitted fact that the US government has directed X to

         censor posts that they find objectionable.57 In the current matter, there is

         strong evidence that indicates similar censorship has happened with respect

         to Mr. Richards’ account being shadowbanned. See included exhibits about

         shadowbanning and censorship. By censoring Mr. Richards’ account, X has

         violated his free speech rights enshrined in the First Amendment of the

         Constitution.

     93. In addition, courts have held private entities liable for constitutional

         violations in three similar situations: (1) where a private entity has acted

         with the help of, or in concert with, state officials, (2) where the state

         provided significant encouragement, either covert or overt, for the action

         taken by a private entity, and (3) where the state delegated its authority to a

         private entity Rice v. Scholastic Book Fairs, Inc., 579 F. Supp. 3d 786.

     94. Upon information and belief, the government has colluded with and

         directed X to censor Mr. Richards’ posts by shadowbanning his posts in

         several ways. They made his account such that they cannot be searched for

         on the website58 and such that his replies, rather than being promoted (as




 57 Id, and see n. 25.
 58 As expressed in note 39, that search removal is not appearing as of May 27, 2024 after X litigation

 counsel was provided this court filing.

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         promised under its terms of service, as a Premium+ subscriber),59 are

         invisible to everyone but him. In addition, they more generally reduce

         visibility of his posts so that almost no one sees them on their feed,

         including his followers. By doing this, X has violated the first amendment. It

         is particularly egregious because Mr. Richards’ posts are tightly associated

         with his religious beliefs. Therefore, X must be enjoined from

         shadowbanning his X account and X posts in any way and should also be

         compelled to pay monetary damages as the court deems proper.

     95. To violate circumstance 3, a traditionally and exclusively public function

         has been delegated to a private actor, X. Here, X has assumed the role of

         providing a virtual public square. Such virtual square is available to anyone

         with an internet connection, and in Packingham v North Carolina, 582 U.S.

         98 (2017), the Supreme Court ruled that even a sex offender cannot be

         banned from the internet. It has thereby been deemed a public

         accommodation by the Supreme Court, and thus has been found to have

         adopted what is traditionally an exclusive public function. That courts since

         the date of that ruling have often decided not to follow the obvious result of

         that ruling, due to complicated legal wranglings is of no consequence.




 59 About X Premium, https://help.x.com/en/using-x/x-premium, “Premium: Includes all Basic features

 plus…larger reply prioritization…

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    96. Packingham makes clear that the internet is just as public if not more

        so than a public park or town square. And the Big Social Media platform

        X is a microcosm of the internet which contains essentially all aspects of the

        internet, all of the functions that the Packingham Court stated were so

        essential that no one could be excluded from it. In addition, through §

        230(c)(2) of the Communications Decency Act,60 Congress has delegated the

        right of censorship to the same private actor that it designated to have the

        function of a virtual public square. (Further analysis of § 230(c)(2) will

        follow below.)

    97. Not only did the Packingham court find that no one can be denied access to

        the internet, it also implicitly found it to be more public than a brick and

        mortar public square because registered sex offenders who have been

        released from prison are still prohibited from living within a certain distance

        of a school and can be banned from certain locations. Yet they cannot be

        banned from the internet. Therefore, it is plain that such a huge website as X,

        with as many subscribers as the entire population of the United States cannot

        block or shadowban posts due to their content. To do so is unconstitutional

        censorship by a private actor which has been delegated a state function.




 60 47 U.S. Code § 230.


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    98. Mr. Richards’ freedom of speech and freedom of the press have also been

        limited because he has been unable to engage in protected speech on issues

        crucial to everyone in this country and in the world. He has been

        shadowbanned and censored in his speech about the crimes of the Vatican,

        and the worldwide conspiracy, that JFK spoke about before he was

        assassinated.61

  99. In addition, any refutation that discusses 47 USC § 230(c)(2) falls flat.

                Sub-argument - 47 U.S. Code § 230(c)(2) is Unconstitutional as

            Pertaining to X and Should Carry No Weight

  100. First as a matter of basic principles, it is impossible that a website

      which has user base as large as the entire United States (X) or half the

      world (Facebook/Meta) can be allowed to censor speech because that

      eviscerates the entire point of the First Amendment of the US

      Constitution, which is freedom of thought, freedom of conscience, and

      freedom of speech. If such freedoms are removed on these massive

      platforms, then no free speech remains. The details below do not matter.

      However, undersigned counsel goes through the analysis below to play by

      the rules.


 61 John F. Kennedy, "Address: The President And The Press" (27 April 1961) - Voices of Democracy

 (umd.edu)- https://voicesofdemocracy.umd.edu/john-f-kennedy-address-the-president-and-the-press-27-
 april-1961-speech-text/

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  101. If 47 U.S.C. § 230(c)(2) is interpreted to pertain to a website such as X,

      that interpretation is clearly unconstitutional because that would mean

      that Congress has in fact directed a large corporation with no actual

      content or speech itself -- which merely acts as a conduit between people --

      to control the speech of all of X’s account holders -- 330 million people ( as

      large as the entire population of the United states). For the website

      Meta/Facebook with 3 billion accounts (close to half of the population of the

      world) and 75% of the USA’s population,62 the situation is even worse.

  102. Section 47 U.S.C. § 230(c)(2)(A), provides, “No provider or user of an

      interactive computer service shall be held liable on account of -- any action

      voluntarily taken in good faith to restrict access to or availability of material

      that the provider or user considers to be obscene, lewd, lascivious, filthy,

      excessively violent, harassing, or otherwise objectionable, whether or not such

      material is constitutionally protected.” In other words, Congress plainly

      passed a law which has been interpreted to direct these websites with an

      absolutely massive user base, and as much or more power than any

      government, to act as a gateway to free speech, despite being the modern

      public square.63 These private entities thus would have a monopoly on free



 62 U.S.: Facebook users 2019-2028 | Statista, https://www.statista.com/statistics/408971/number-of-us-

 facebook-users/
 63 Packingham v. North Carolina, 582 U.S. 98 (2017).


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       speech and can go ahead and censor material that is “constitutionally

       protected”. This is a completely unconstitutional and illogical result. Thus

       by the logical principle of reductio ad absurdum, the starting premise (that

       they are permitted to censor users’ content) has to be incorrect.

  103. Otherwise, with 47 U.S.C. § 230(c)(2), Congress has passed a law which

       stops every American's free speech and every American's freedom of the

       press! It is also more deeply illogical and self-contradictory; the beginning of

       47 U.S.C. § 230 states that it is intended to promote free speech and a

       multitude of opportunities. It also notes that the internet has flourished amidst

       a minimum of government regulation.

  104. The legislative history of 47 U.S.C. §230(c)(2) makes clear that its purpose

       was to give parents greater control over keeping their children away from

       inappropriate materials on the internet, and like 230(a) and 230(b) stated,

       never was intended to empower some private group to censor everyone’s

       speech at all!64 What this has spun into, where all 47 U.S.C. § 230 has really


 64 https://crsreports.congress.gov/product/pdf/R/R46751 p 5-6 “Many of those who spoke in favor of this

 amendment [to the Communications Decency Act] on the floor of the House argued that it
 would allow private parties, in the form of parents and internet service providers, to regulate
 offensive content, rather than the FCC. In particular, then-Representative Wyden emphasized
 that “parents and families are better suited to guard the portals of cyberspace and protect our children
 than our Government bureaucrats,” and argued against federal censorship of the
 Internet. The conference report echoed these concerns: This section provides “Good Samaritan”
 protections from civil liability for providers or users of an interactive computer service for actions to restrict
 or to enable restriction of access to objectionable online material. One of the specific purposes of this
 section is to overrule Stratton-Oakmont v. Prodigy and any other similar decisions which have treated
 such providers and users as publishers or speakers of content that is not their own because they have
 restricted access to objectionable material. The conferees believe that such decisions create serious

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      done is to lead to mass censorship and the removal of freedom of thought is

      simply unconscionable. It needs to be reigned in immediately by someone

      with the authority to do so if there is to be any hope for the freedoms this

      country was said to be based upon. This is an emergency because due to this

      censorship, the most important information in the world – which is only being

      shared by Mr. Richards – is being censored.

  105. If 47 U.S.C. § 230(c)(2) were correct, then the publisher could only be

      the individual who wrote the post. Therefore, Congress has created a law

      which as applied to Big Social Media platforms is highly problematic. It

      directs the website which is not a publisher to censor someone else’s

      speech. Coupling that with the government direction for censorship,65

      Congress has indisputably violated the First Amendment with 47 U.S.C. §

      230(c)(2). Also, X plainly states that the content is all owned by the account

      holder, not X, this proves X is not the “publisher” for if X were the

      “publisher” X would own the content and not vice versa. X’s own Terms of

      Service prove that X does not consider itself a publisher. As such, this

      demonstrates even more that the First Amendment has been violated by



 obstacles to the important federal policy of empowering parents to determine the content of
 communications their children receive through interactive computer services.”
 65 The Cover Up: Big Tech, the Swamp, and Mainstream Media Coordinated to Censor Americans’ Free

 Speech - United States House Committee on Oversight and Accountability,
 https://oversight.house.gov/release/the-cover-up-big-tech-the-swamp-and-mainstream-media-
 coordinated-to-censor-americans-free-speech-%EF%BF%BC/.

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     allowing 47 U.S.C. § 230(c)(2) to be construed as to permit censoring the

     internet, because it is calling parties who are not publishers, publishers, and in

     so doing, Congress thereby limits the speech of the actual publisher of the

     information: an American individual.

  106. Judges and members of congress all take vows to uphold the Constitution.

     Therefore, every member of government and every judge who has allowed 47

     U.S.C. § 230(c)(2) to be interpreted to mean that vast social media networks

     with a monopoly on public discussion can ban the public’s speech on their

     platforms have violated the Constitution and committed treason (in the

     common meaning of the word). This is exactly the kind of behavior the Bill of

     Rights was intended to prevent. No large website or other conduit with no

     content of its own can ever be considered to have any free speech rights of its

     own. This is a completely tortured reading of who free speech and freedom of

     the press apply to.

  107. The modern analog of the press, is actually the modern social media

     account holder, who now has their own virtual press. Hardly anyone reads

     print newspapers anymore. A social media website is not the press, but the

     account holder is the press. That account holder, enabled by the internet, can

     easily “print” any sort of content they choose at any time. The only limits that

     can be permissibly placed on this content by government (through a law such

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     as 47 U.S.C. § 230(c)(2)) are the obvious limits that already exist on free

     speech— such as obscenity or something which causes an immediate harm

     (yelling “fire” in a crowded theater). Mr. Richards has never engaged in any

     behavior of that sort online, and no one has ever alleged that he has.

  108. Through its review of 47 U.S.C. § 230(c)(2), this court should take

     advantage of the opportunity to rule with his conscience, in favor of the U.S.

     (and human) right to free speech and freedom of the press which as explained

     throughout this filing would be a significant benefit to U.S. discourse. 47

     U.S.C. § 230(c)(2) must no longer be permitted to be used as an excuse to stop

     the very freedom of speech that is a necessary precursor to anything positive

     happening to this country.

  109. It is incorrect that a website used by hundreds of millions or even billions of

     people is a publisher or executes an editorial function. It is impossible for it to

     handle such a task, and that was the whole purpose of 47 U.S.C. § 230, to limit

     liability for ISPs and large websites so the internet could remain a place of free

     speech. The publisher is only the individual who puts their content on the

     website, and the liability removal rules demonstrate this. If X removes a post,

     it is not being an “editor” because everyone knows X has no content of its own

     and no one legitimately ever attributes the post content to X. When it removes

     a post, X is merely being an oppressive censorer. To say otherwise is an

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     incorrect and twisted reading of 47 U.S.C. § 230(c)(2), which was enacted

     long before social media existed, and applying it to such enormous social

     media websites is unconstitutional. All content on X is that of the individual

     with their individual virtual presses who have been solely responsible for

     building up and using the app/website. In addition, X is being unjustly

     enriched due to all the ad revenue it takes in despite oppressing its users and

     violating its own terms of service.

  110. And to say, “Well, people can just go somewhere else if they don’t like X’s

     terms” is just not true. There is no other place for free speech anymore except

     on the internet. People who protest on the streets are often killed, so that is no

     longer a safe option (and certainly is not an equivalent option, with its much

     smaller reach). And websites with a much smaller user base are not

     comparables for a website with a massive user base, like X.

  111. Any court that continues to hold that 47 U.S.C. § 230(c)(2) carries any

     weight is violating its oath to uphold the Constitution. And if the Bill of Rights

     is not being upheld, then the entire US and the freedom it claims to offer has

     become an unredeemable lie and should simply be dissolved. According to the

     preamble, it is now time for the United States and its Constitution to be

     abolished “…all men are endowed by their Creator, with certain unalienable

     rights, that among these are life, liberty, and the pursuit of

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     happiness…whenever any form of government becomes destructive of these

     ends, it is the right of the people to alter or to abolish it, and to institute new

     government, laying its foundation on such principles…” (emphasis added).

  112. Based upon what has happened to this country, one example being that there

     is no freedom to speak up against US and world events in the modern public

     square, then this government has failed it its basic purpose, and even its

     founding document says the same. The Supreme Court has stated that the

     internet is "the principal source[] for knowing current events, checking ads for

     employment, speaking and listening in the modern public square, and

     otherwise exploring the vast realms of human thought and knowledge."

     Packingham v. North Carolina, 582 U.S. 98 (2017).

  113. Seeing as the number of people on X is as large as the entire US population,

     and the number of people on Meta is as large as almost half the world’s

     population, it is obvious that censorship on these platforms is no less harmful

     than government impingement on freedom of speech. Arguably, it’s much

     worse. Because of the ease of censorship on a computer versus in person, this

     allows for a level control that government never had before.

  114. Every lawyer, and even any successful member of a college debate team,

     knows that one can make an argument for anything but that does not mean that

     every argument is correct. So here, it is profoundly obvious that censoring Big

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     Social Media is exactly the same as removing freedom of speech in this

     country. While this complaint and associated rule 65 motion endeavors to

     follow standard legal procedure in making its argument, in truth, this is just

     because undersigned Counsel will play the legal game according to its rules.

     In a just USA, this entire argument would need to be no longer than one page

     because all principles of justice make it clear that if Big Social Media can

     be censored, then no free speech remains in this country.

  115. Why does it matter if the entities censoring are those hired by one of the few

     richest men in the world (who happen to be unelected) or are individuals

     officially working for the government? All are part of the world’s leadership.

     So I will play the legal game and argue for why this fits into a First

     Amendment exception. And I will refer to the statutes, go through the prongs

     of a Rule 65 analysis and use the other legal tools involving discrimination.

     But in a just USA, none of these arguments would be needed because the

     truth is obvious.

  116. Further analysis of 47 U.S.C. § 230(c)(2) explains the ramifications of this

     horribly applied statute. Without § 230 social media would not be censoring at

     all, because they would be held liable for doing so. Thus any social media

     entity that did censor would have been put out of business. Without the current

     faulty interpretation of 47 U.S.C. § 230(c)(2), market forces would have

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     removed internet censorship. Therefore, but for the unconstitutional 47 U.S.C.

     § 230(c)(2) there would be no social media censorship.

  117. This is why any contractual terms of service allowing for censorship by X

     are void as a matter of public policy—as they were the result of initial faulty

     reasoning—a wrong interpretation of § 230(c)(2). Therefore, in addition to not

     accepting § 230(c)(2) as having any import, neither do the censoring terms of

     service carry any weight. These all violate not only the constitution but the

     moral right on which any valid legal system is based, that a human has the

     central right of freedom of thought and freedom of speech. Anything that goes

     against that is an evil system that all good people have a moral duty to oppose,

     just as one has the duty to oppose murder, rape, and any other crime that

     would bother a healthy conscience.

       COUNT V - Violation of Virginia Consumer Protection Act - Virginia
       Code §§ 59.1-196 through 59.1-207

  118. Paragraphs 1-117 are incorporated by reference.

  119. The Plaintiff re-alleges and incorporates by reference the information and

     allegations 1-114. Defendants are now, and were at all relevant times

     mentioned herein, a "supplier" of "goods" or "services," and engaged in

     "consumer transactions," as those terms are defined in § 59.1-198 of the




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     VCPA, by advertising, offering, and providing X Premium and X Premium +

     to consumers who live in Virginia.

  120. The Virginia Consumer Protection Act prohibits “Misrepresenting that goods

     or services have certain qualities, characteristics, ingredients, uses, or

     benefits”. § 59.1-200(5).

  121. According to the Restatement (2D) of Contracts, a misrepresentation is “an

     assertion that is not in accord with the facts.” § 159

  122. Plaintiff pays $16 per month for Premium + and has been paying for this

     service at this tier or the lower $8 monthly tier since approximately November

     2022.

  123. The Defendant misrepresented that Premium + would cause Plaintiff’s

     replies to X users posts to be “promoted”.

  124. In actuality, Plaintiff’s replies are all hidden (shadowbanned) such that no

     one can see them except for him.

  125. The Plaintiff further alleges that not only was there misrepresentation, but

     actual fraud because the Defendant stated a falsehood when it stated that

     Plaintiff’s posts would be boosted if he paid the monthly fee for the Premium+

     service.




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  126. Defendant also stated a falsehood when Musk stated on December 8, 2022,

      that users would be informed when they were shadowbanned and that they

      would be given due process to contest the decision.66

  127. Defendant fraudulently misrepresented the X Premium + service in two

      ways, both with respect to the ability to contest shadowbanning and with

      respect to the claim that replies to posts would be boosted.

  128. According to § 59.1-204(A) of the VCPA, treble damages are proper when

      the violation, as here, was willful.

  129. In addition, § 59.1-204 of the VCPA authorizes attorney’s fees for a

      prevailing plaintiff. The amount of attorney’s fees is unknown at this time

      because it will depend on how much time Plaintiff’s counsel spends on the

      case, but as of now, they are expected to be at least $250,000.



         VI. Defamation by Implication/ Negative Inference



  130. Paragraphs 1-129 are incorporated by reference.

  131. X’s shadowbanning of Mr. Richards’ account constitutes defamation by

      implication.




 66 See note 48.


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  132. By shadowbanning his account, X drastically reduces the number of people

       who see Mr. Richards’ posts. This leads to greatly reduced engagement with

       his posts. This creates an impression that people are not interested in his

       material.

  133. Those who see the low engagement with his posts do not realize that his low

       engagement is solely due to him being shadowbanned.

  134. Before he was shadowbanned by Google, YouTube, and social media entities

       such as X, he had such a rapid increase in viewership and interaction with his

       material that he received a greater volume of contacts from people than he

       could possibly respond to.67 Due to the censorship, this viewership has

       decreased to only a handful of views per day.

  135. In addition, X Corp. has engaged in altering Mr. Richards’s posts and links68

       as well as separating posts from the replies they pertain to. Both of these

       actions violate X’s terms and also give a false impression about Mr. Richards.

       For example, when he made a post that was highly critical of Alex Jones, X

       removed the reply he attached to that thread which made it appear that he was

       promoting Alex Jones. X’s terms indicate “What’s yours is yours”.69 They

       certainly do not have permission to alter the meaning of Mr. Richards’ posts.



 67 https://spirituallysmart.com/censorship.html
 68 See exhibit, Twitter changing links.
 69 https://x.com/en/tos.


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  136. Mr. Richards has suffered presumed damages, actual damages and special

      damages, including, but not limited to, insult, pain, embarrassment,

      humiliation, mental suffering, injury to his reputation, loss of potential

      business and income, career damage, lost future earnings, costs and other out-

      of-pocket expenses, in a sum to be determined by the Jury, but not less than

      $50,000,000.00.



                                 COUNT VII – BREACH OF CONTRACT

  137. Paragraphs 1-135 are incorporated by reference.

        1. Shadowbanning posts

                   a. Contradictory promises

  138. X promised to advise someone if they were being shadowbanned.70

      Simultaneously, X promises that it does not shadowban: “Does X shadow ban?

      Let’s discuss this one upfront. Simply put, we don’t shadow ban! Ever... Check

      out our company blog post for more details.71 It is impossible for both of these

      statements to be true.

  139. In addition, Mr. Richards can clearly see that his posts are not being seen by

      his followers, and that the number of followers who see his posts has greatly




 70 See note 48.
 71 Debunking X myths, https://help.x.com/en/using-x/debunking-twitter-myths.


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      decreased. Further, as explained above, websites that perform analytics, as

      well as X’s own AI “grok” prove that Mr. Richards’ account is indeed

      shadownbanned.

  140. Taken together, it appears that Mr. Richards is the only one experiencing

      such shadowbanning, but as a paying member of X premium+, X has breached

      its contract with Mr. Richards.

      1b. double standard and discrimination

  141. X also violates X’s own rules by allowing the Pope or Vatican to have any

      presence on X. In accordance with X’s own rules, every post that promotes an

      entity that has been proven to be hiding a network of child rape is required to

      be banned. The terms state “Child Sexual Exploitation: We have zero

      tolerance for child sexual exploitation on X.”72 and “Violent & Hateful

      Entities: You can’t affiliate with or promote the activities of violent and hateful

      entities.”73

  142. Therefore, X promises to ban “child sexual exploitation” as well as the

      activities of “violent and hateful entities.” There is nothing more hateful than

      an epidemic of hidden child rape, and there is no entity responsible for more

      of this than the Vatican and its Pope -- with the endless attempts to hide their




 72 The X rules: safety, privacy, authenticity, and more, https://help.x.com/en/rules-and-policies/x-rules.
 73 The X rules: safety, privacy, authenticity, and more, https://help.x.com/en/rules-and-policies/x-rules.


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      crimes and avoid any consequences.74 In addition, most plainly, the Pope has

      referred to child rapists as “children of God” “who deserve love” so it’s clear

      he supports child rapists.75

  143. Thus, by X’s own terms, any promotion of the Pope or the Vatican should be

      prohibited on X.

  144. Taken together (and this also speaks to the religious discrimination

      mentioned in claim 1), Mr. Richards has been shadowbanned in breach of X’s

      own terms. Yet, in stark contradiction, the Vatican -- whose evil works Mr.

      Richards speaks about consistently – has been not banned in violation of X’s

      own rules. This shows the discrimination on X and further shows that Mr.

      Richards is being specifically targeted for censorship, as proven by the

      screenshots discussed above and attached to this complaint.

  145. Even if 47 U.S.C. § 230(c)(2) were not unconstitutional, 47 U.S.C. §

      230(c)(2) only insulates for acts taken “in good faith”. The fact that X has




 74 E.g. Activists chide pope over handling of sex abuse and cover-ups (aol.com);

 https://www.aol.com/news/activists-chide-pope-over-handling-142935595.html.
 Pope seeks immunity in Australian court over notorious paedophile priest (theage.com.au);
 https://www.theage.com.au/national/pope-seeks-immunity-in-australian-court-over-notorious-paedophile-
 priest-20240404-p5fhib.html; SNAP v. the Pope, et al. | Center for Constitutional Rights (ccrjustice.org),
 https://ccrjustice.org/home/what-we-do/our-cases/snap-v-pope-et-all; After PA Grand Jury Report,
 Survivors Renew Demand For Federal Investigation Into Church Sexual Violence And Cover-Up | Center
 for Constitutional Rights (ccrjustice.org), https://ccrjustice.org/home/press-center/press-releases/after-pa-
 grand-jury-report-survivors-renew-demand-federal.
 75 Pope Francis calls sex abusers 'children of God' (nypost.com), https://nypost.com/2023/05/11/pope-

 francis-calls-sex-abusers-children-of-god/.

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     breached its own terms in shadowbanning Mr. Richards proves it did not act

     “in good faith”.

  146. In accordance with X’s self-contradictory policies about shadowbanning, X

     does concede either that it does not shadowban or that it will give notice to

     people whose accounts have been limited. Instead, they did not give notice,

     but shadowban Mr. Richards in secret. Thus they have broken their agreement

     with Mr. Richards no matter which contradictory promise you look at: Promise

     #1- the one that says it does not shadowban (which Discovery will prove to be

     false) or Promise #2- the one where Musk agrees he does shadowban but

     promises to give a right to appeal this (along with X’s own written terms,

     saying much the same).

     1c. lack of good faith

  147. Further, “good faith” is an absolute requirement to receive the protection

     from liability granted by 47 U.S.C. § 230(c). 230(c)(2)(A), provides, “No

     provider or user of an interactive computer service shall be held liable on

     account of -- any action voluntarily taken in good faith to restrict access to or

     availability of material that the provider or user considers to be … harassing,

     or otherwise objectionable, whether or not such material is constitutionally

     protected.” (emphasis added)




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  148. Black’s Law Dictionary, 8th edition defines “good faith” to mean: “honesty

      in belief or purpose, faithfulness to one’s duty or obligation, observance of

      reasonable commercial standards of fair dealing in a given trade or business,

      or absence of intent to defraud or to seek unconscionable advantage.”

  149. With that definition for “good faith,” it is clear that X has not acted in good

      faith in shadowbanning Mr. Richards’ account. They’ve both lied about if they

      even do it, and in addition, Mr. Richards has never been told why he has been

      shadowbanned -- although Musk promised that X users would be told. This all

      demonstrates clear bad faith.

  150. In addition, it is clear that the content of Mr. Richards’ material is not

      objectionable. (See the attached summary of his information created by AI.76)

      Therefore whoever is the gatekeeper censoring Mr. Richards must have a bias

      against him, and because Mr. Richards’ work is all so closely tied to his

      religious beliefs, the bias must necessarily be based upon Mr. Richards’

      religious beliefs. Therefore it represents religious discrimination, which is

      impermissible under Title II of the Civil Rights Act of 1964.

  151. The only things Mr. Richards posts about on his X account are: 1) uplifting

      Bible messages, and 2) in the style of the old prophets of the Bible, exposing

      the horrible acts being committed in darkness by the Vatican and others. The


 76 See attached AI about spirituallysmart.com.


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      Bible itself requires its adherents to do this: Ephesians 5:11”Have nothing to

      do with the fruitless deeds of darkness but rather expose them”. Therefore,

      his religion actually requires him to speak out against the evil works of the

      Vatican. Thus, censoring him for exposing evil deeds is clear discrimination

      based upon his religious beliefs.

  152. Taken all together, it is impossible that X has censored Mr. Richards in good

      faith. On the contrary, they are not being “faithful[] to their duty”. They are

      violating it, because several laws forbid religious discrimination by a place of

      public accommodation, such as X (among those, are explained in this brief—

      Title II of the Civil rights act, the Virginia Human Rights Act).

      2. Deleting posts from Mr. Richards’ archive

  153. A separate cause of action for which X breached its contract with Mr.

      Richards is that X has deleted/hidden 2100+ of Mr. Richards’ posts from his

      own archive in violation of their own terms of service. This is tantamount to

      theft. The theft can be proven because his account displays the total number of

      posts, but then when Mr. Richards downloaded the archive, there were 2100

      fewer than stated (see attachments).77 But the Twitter terms promise that




 77 See attached – 2100 missing tweets, parts 1,2,3.


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      although “posts more than a week old may fail to display in timelines... Old

      posts are never lost...”78

  154. In withholding Mr. Richards’ posts, X has stolen these posts in violation of

      their own terms.

  155. Mr. Richards therefore requests injunctive relief requiring that the posts be

      restored.




                      CONCLUSION AND REQUEST FOR RELIEF

 WHEREFORE, Mr. Richards respectfully requests the Court to enter Judgment

 against X as follows:

 A. A declaratory judgment that if 47 U.S.C. § 230(c)(2) is interpreted to allow the

 banning of free speech on Big Social Media and Big Internet platforms, that

 portion of the statute (or that reading of that statute) is unconstitutional.

 B. A declaratory judgment that X’s policy of blocking or limiting posts based upon

 the content of the post violates the First Amendment of the Constitution.




 78 https://help.twitter.com/en/using-x/missing-

 posts#:~:text=posts%20more%20than%20a%20week,but%20cannot%20always%20be%20displayed.

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 C. A declaratory judgment that X’s policy of censoring, shadowbanning, altering

 posts, separating posts from their replies, or limiting Mr. Richards’ posts in any

 way violates his Civil Rights and discriminates against him based upon his

 religious beliefs with respect to a public accommodation.

 D. A permanent injunction requiring X to release to Mr. Richards all posts in their

 entirety (there are at least 2100) that it has withheld from his archive – so that he

 can download them, access them, and use them fully.

 D. A permanent injunction barring X from censoring, shadowbanning, altering Mr.

 Richards’ posts and links, separating posts from their replies, or limiting his X

 account or posts on X in any way.

 E. A permanent injunction requiring X to provide Mr. Richards the same level of

 promotion that it gives any other X user who subscribes to the Premium or

 Premium+ service (including Jackson Hinkle, Alex Jones, etc.);

 F. A preliminary injunction granting the relief specified above during the pendency

 of this action.

 F. Compensatory damages in a sum determined by the Jury, but not less than

 $50,000,000.00;

 G. Punitive damages in an amount to be determined by the Jury, but not less than

 $20,000,000;
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 H. Prejudgment interest at the rate of six percent (6%) per annum until paid;

 I. Postjudgment interest at the rate of six percent (6%) per annum until paid;

 J. Costs and other recoverable amounts as allowed by law;

 K. Such other relief as is just and proper.

                                  TRIAL BY JURY IS DEMANDED

                                  DATED: June 4, 2024

                                  Thomas Richards

                                   By Counsel

                                                     Respectfully Submitted,
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